                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                                 At Nashville


UNITED STATES OF AMERICA,                 |
                                          |       3:11-00012
                     PLAINTIFF            |       SENIOR JUDGE WISEMAN
                                          |
V.                                        |
                                          |
CHRIS YOUNG,                              |
                                          |
                     DEFENDANT            |



     MOTION TO CONTINUE PLEA AND MOTION DEADLINES AND TRIAL DATE

              The Defendant, Chris Young, by and through appointed counsel, Hallie H.

McFadden, hereby respectfully requests this Court continue Mr. Young’s motion

deadline and his trial date. The Motion deadline is currently April 9, 2012 and the trial

date is June 4, 2012. As grounds for the motion, counsel would show:

              The undersigned was appointed on February 28, 2012, after previous

counsel moved to withdraw due to health issues.          Counsel has spoken with prior

counsel’s paralegal, who has advised she will prepare copies of the discovery which

had been provided to them, but the discovery is so voluminous that it might take her

several days to provide it to present counsel. Counsel for the Government has advised

if Counsel for Mr. Young is unable to obtain discovery from prior counsel, he would

prepare and provide it to Counsel. Counsel has not even had the opportunity to meet

Mr. Young, and clearly has not had the opportunity to review the evidence and

investigate this matter properly. As the Court has made clear in several orders, the

discovery is voluminous and the case is extended and complex.


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              Counsel for Mr. Young is extremely cognizant of the Court orders

continuing this matter, and most especially of the Court’s order dated September 8,

2011, ordering the trial date of June 4, 2012 to be a firm date (as well as the Court’s

order dated January 6, 2012 reaffirming that date).     Counsel, however, respectfully

asserts, based on the representations of prior counsel, co-defendants’ counsel and the

Assistant United States Attorney, the discovery is so voluminous and complex she does

not believe she can be prepared to effectively represent Mr. Young in three months.

Although clearly this delay will impact Mr. Young and the Government to some extent,

any delay or prejudice is substantially outweighed by the necessity to provide Mr. Young

with effective assistance of counsel.

             Counsel for Mr. Young has discussed this motion with counsel for the

Government, and there is no objection to continuing the motion deadline, as well as the

trial date in this matter. Counsel for Mr. Young submits that the ends of justice served

by granting this continuance outweigh the interest of Mr. Young and the public in a

speedy trial. 18 U.S.C. §3161(h)(8)(A).

             For all the above reasons, Counsel for Mr. Young requests that the above

dates be continued.

                                               Respectfully submitted,

                                               LAW OFFICES OF
                                               HALLIE H. McFADDEN, P.C.

                                               By:    s/Hallie H. McFadden
                                                      Hallie H. McFadden,BPR #17185
                                                      Attorneys for Defendant
                                                      P.O. Box 546
                                                      Signal Mountain, TN 37402
                                                      TEL: (423) 362-1818




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                                        CERTIFICATE OF SERVICE
         I, the undersigned, hereby certify that on March 2, 2012, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt. All other parties will be served by regular U.S. Mail.
Parties may access this filing through the Court’s electronic filing system.


                                         /s/ Hallie H. McFadden




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